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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         Harrisonburg Division

DARLA V. EDWARDS          )
                          )
          Plaintiff,      )
                          )
v.                        )                    Civil Action No.: 5:23-cv-74
                          )
JAMES MADISON UNIVERSITY, )
                          )
and                       )
                          )
VIRGINIA ADVANCED STUDY   )
STRATEGIES, INC., DBA     )
“VIRGINIA EDUCATION       )
STRATEGIES”               )
(“VES”)                   )
                          )
and                       )
                          )
JENNIFER STEVENS,         )
                          )
          Defendants.     )

                       SECOND AMENDED COMPLAINT

                              (Jury Trial Demanded)

      Plaintiff Darla V. Edwards (“Edwards”), for her Second Amended Complaint

against Defendants James Madison University (“JMU”), Virginia Advanced Study

Strategies, Inc. doing business as “Virginia Education Strategies” (“VES”), and

Jennifer Stevens (“Stevens”) (collectively “Defendants”), states as follows:

                               NATURE OF ACTION

      1.     Darla Edwards is a powerhouse in the education sector of Virginia, and

she brought years of exemplary service and experience with school divisions, the



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Virginia Board of Education, and education leaders across the Commonwealth to her

position as the Director of Business and Education Partnerships at VES, until she

was unlawfully terminated after raising concerns of racial discrimination. Edwards

brings this action under Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e, et seq. (“Title VII”) against JMU because JMU discriminated and

retaliated against Edwards and wrongfully terminated Edwards’ employment in

violation of Title VII. Edwards brings this action under 42 U.S.C. § 1981 against VES

and Stevens, because VES and Stevens also discriminated and retaliated against

Edwards and wrongfully terminated Edwards’ employment in violation of 42 U.S.C.

§ 1981.

      2.       Edwards seeks legal and equitable relief to redress the injuries done to

her by Defendants; injunctive relief, equitable relief including reinstatement or front

pay, back pay, benefits, compensatory damages, and reasonable attorney’s fees and

costs from all Defendants. In addition, Edwards seeks punitive damages from VES

and Stevens.

                            JURISDICTION AND VENUE

      3.       This Court has original jurisdiction over this Complaint and to

adjudicate the claims stated herein under 42 U.S.C. § 2000e et seq., 42 U.S.C. § 1981,

and/or 28 U.S.C. §§ 1331 and 1343.

      4.       Venue is proper in the Western District of Virginia and in the

Harrisonburg Division under 42 U.S.C. § 2000e-5(f) which provides that venue is

proper in any district court in the state; see also General Electric Co. v. Merhige, 1972



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U.S. App. LEXIS 6632, No. 72-3327, 1972 WL 2610 (4th Cir. Nov. 20, 1972)

(unpublished) (applying provision). The claims presented herein arose and

Defendants reside within this judicial district and division.

      5.     Edwards has exhausted all necessary procedural prerequisites and has

filed her Title VII claims against JMU within ninety (90) days of her receipt of a

“Right to Sue” letter from the Equal Employment Opportunity Commission.

                                      PARTIES

      6.     Edwards is a 50-year-old Black, female resident of Hampton, Virginia

who, at all times pertinent hereto, was employed by Defendants as the Director of

Business and Education Partnerships since August of 2018. At all times relevant to

the matters alleged herein, Edwards was an employee of JMU within the meaning of

Title VII pursuant to 42 U.S.C. § 2000e(f).

      7.     Defendant JMU is a public university and an arm of the Commonwealth.

At all times pertinent hereto, Defendant JMU has been Edwards’ “employer” within

the meaning of 42 U.S.C. § 2000(b) and has been subject to the provisions of Title VII.

At all times pertinent hereto, JMU employed more than 500 employees.

      8.     Defendant VES is a Virginia nonstock corporation formed on July 31,

2007. At all times pertinent hereto JMU and VES were Edwards’ joint employer.

      9.     Defendant Jennifer Stevens (“Stevens”) is and at all times pertinent

hereto was President and CEO of VES. Stevens is also a faculty member of, and

subjected to all employment agreements with, JMU. As Edwards’ supervisor and the

individual who made the decision on behalf of both VES and JMU to discriminate and



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retaliate against Edwards and fire her, Stevens is individually liable under 42 U.S.C.

§ 1981. Stevens is a white female.

                                        FACTS

      10.    Darla Edwards holds a Bachelor’s degree in Early Childhood Education,

a Master’s degree in Educational Leadership, and an Educational Specialist degree

in Education Administration/Leadership. She is currently working on a doctoral

degree in Educational Policy, Programming, and Planning at the College of William

& Mary.

      11.    Edwards has more than twenty years of experience in the field of

education in the Commonwealth of Virginia. Her career has been marked with

significant accomplishments, and she has held a number of leadership positions. Her

experiences range across the sector; she has been: an educator, administrator, held

advisory positions, and now serves on a variety of boards and supports school districts

around the nation on strategic family educational engagement initiatives.

      12.    For nine (9) years from 2000-2009, she served as the Principal of

Madison Heights Elementary School, the largest elementary school in Amherst

County, Virginia, where she led more than 90 faculty and staff. In 2008, the Virginia

Association of Elementary School Principals honored her with the prestigious School

Bell Leadership Award, which recognized excellence in elementary school leadership.

Prior to that, from 1998-2000, she served as an Assistant Principal at Bedford Hills

Elementary School, in Lynchburg, Virginia, where she assisted with the daily

operations and leadership of over 70 professional and classified staff. In that position,



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she was also a School Technology Specialist, responsible for the effective integration,

maintenance, and support of technology in the educational environment. This role

involved working closely with teachers, staff, and students to ensure that technology

resources were utilized efficiently to enhance teaching and learning. She began her

career in education in 1995, as an Early Childhood teacher and Title I teacher. She

served in those capacities from 1995-1998.

      13.    In line with Edwards’ dedication and service to education in Virginia, in

2006 Edwards co-founded Successful Innovations, an organization supporting

schools, primarily in early education, in providing families with interactive resources

to support their child’s learning by engaging families in their child’s education.

Successful Innovations hosts conferences around the nation that are focused on

family engagement, and has worked successfully with Head Start centers, early

childhood, and Title I schools throughout the Commonwealth of Virginia and the

nation.

      14.    In recognition and endorsement of Edwards’ accomplishments in and

contributions to the field of education, in 2012, the Governor of Virginia appointed

Edwards to serve on the Virginia Board of Education, where she served from 2012

until 2016 providing leadership for Virginia’s education system.

      15.    In 2016, Veronica Tate (“Tate”), then the Chief Executive Officer

(“CEO”) of VES, recruited Edwards to assist VES with the making of a video to

support the organization with fulfilling the outreach requirements dictated by a grant

that VES was working with at the time. Tate was aware of Edwards’ ownership of



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Successful Innovations when recruiting her to assist with the video which provided

effective strategies to support schools with leading effective math workshops for

families. This supported VES by fulfilling the outreach requirements dictated by the

Rural Math Innovation grant for which VES was grant recipient.

      16.   In 2018, after Edwards’ success on the video project for VES and Tate’s

knowledge of Edwards’ significant contributions to Virginia’s educational system,

Tate recruited Edwards to work for Defendant VES because of and to utilize Edwards’

impressive background, connections, and extensive experience in the education

sector.

      17.   Defendants jointly employed Edwards in or about August of 2018.

Defendant VES employed Edwards as Director of Business and Education

Partnerships. JMU employed Edwards as a faculty member to work at VES.

      18.   Defendants entered into an Employment Agreement with Edwards that

automatically renewed each summer. Exhibit 1. On JMU’s behalf, the Employment

Agreement with Edwards was signed by Carol Fleming, a faculty member in the

Department of Professional & Continuing Education (“P&CE”), and that

department’s Dean. Exhibit 1 at p. 2. JMU initially employed Edwards as a faculty

member in P&CE, and later as a faculty member in its College of Education working

at VES.

      19.   Edwards at all times during her employment with Defendants was a

JMU faculty member, and was paid by JMU as a staff member of VES.




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      20.   The Employment Agreement was a one-year employment contract with

Defendants, automatically renewing each year, and contingent on funding. During

her employment with JMU and VES, funding was never a problem. With extensive

support and effort from Edwards, Defendants applied for and successfully secured a

U.S. Department of Education grant of almost Eleven Million Dollars ($11,000,000)

for VES at the end of December of 2020. Funding for VES was thus secured through

the end of 2025 and was never an issue for Edwards’ continued employment.

      21.   Because of her exemplary performance, Defendants renewed Edwards’

contract in August of 2019, August of 2020, August of 2021, and August of 2022.

Throughout her employment, Edwards was a full-time, benefits eligible employee.

      22.   At all times relevant to the matters alleged herein, Edwards performed

her work at the direction of Defendants as an employee.

      23.   In 2018, with Tate as the CEO of VES, Defendant Stevens was Vice

President (“VP”) when Edwards was hired. Upon information and belief, Tate is

Hispanic.

      24.   In mid-2018, Amanda Adams (“Adams”) applied for the position for

which Edwards was hired. Adams was rejected for the position and Edwards was

hired because Edwards was more qualified.

      25.   In or around November 2018, VES hired Adams as Outreach &

Development Coordinator. Like Edwards and Stevens, Adams signed an employment

agreement with JMU.




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      26.    Adams is white as are all other VES employees except Edwards. Upon

information and belief, Adams was about 30 years old when she began working at

VES. She has a Bachelor’s degree in Sociology and a Master’s degree in Public Policy.

      27.    The differences in the qualifications between Edwards and Adams were

striking. Unlike Edwards, Adams had no leadership experience in an educational

setting, none of her degrees are in leadership, and she had not held any leadership

positions that required her to oversee and evaluate educational staff.

      28.    Upon information and belief, Adams’ work background primarily

included website development, social media, and working with online platforms. Her

work with VES as the Outreach & Development Coordinator primarily included

functions unrelated to operations or client/external facing work, but dealing with

technology—such as managing the Canvas software platform, handling the

professional learning dashboard, creating social media posts, and making TikTok

videos. Her outreach responsibilities were limited mostly to public relations on the

VES website and social networks.

      29.    Edwards’ job duties as the Director of Business and Education

Partnerships were myriad and demanding. She built partnerships with education

stakeholders around the Commonwealth, maintained and leveraged existing

connections she brought to the table from her prior experience including with

Successful Innovations, and performed a number of executive functions in the grant

world. Specifically, she developed successful grant applications, secured revenue-

generating contracts for VES, facilitated a cohort of administrators on grant-related



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items, recruited leaders to participate in grant projects, organized expert-led

webinars to support business and educational leaders, and forged national

partnerships with VES to promote and raise awareness of VES as an entity among

state and national leaders. Edwards also attended meetings at JMU with VES and

JMU’s Dean and Assistant Dean of Education, as well as the Project Manager from

JMU who was assigned to grants to discuss project updates, timelines, and

deliverables.

       30.      Even before Defendants hired Edwards, VES was aware of Successful

Innovations. Tate was very familiar with Successful Innovations and Edwards’

involvement with that organization.

       31.      In August of 2018, after conducting a due diligence review of Successful

Innovations, Tate personally informed the Board of Directors of VES that there was

no conflict of interest between Edwards’ business activities at Successful Innovations

and her employment at VES.

       32.      There was no conflict of interest. Among other reasons, VES and

Successful Innovations have always targeted different sectors of education. VES has

always focused on high schools, college and career preparation, and work-based

learning opportunities; while Successful Innovations’ focus was and continues to be

on family engagement resources and services to support early childhood centers and

Title I schools.

       33.      In November of 2018, Tate resigned as CEO of VES to pursue other

career opportunities, leaving a known vacancy of that position. At that time, Tate



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encouraged Edwards to apply for the position of CEO because of her outstanding

leadership qualifications.

      34.    Stevens became the new CEO of VES in late 2018. Edwards remained

in her position as Director of Business and Education Partnerships, and the team

carried on its work, and no concern or mention of Edwards’ involvement with

Successful Innovations arose.

      35.    The Vice President position was left vacant.

      36.    In early June 2020, Stevens requested that Edwards prepare and

present a talk on potential business and partnership opportunities for VES. Edwards

did as requested and had a presentation prepared for a meeting on June 3, 2020.

However, when Edwards joined the meeting, she was stunned when she was

confronted by Stevens and Adams, with Sandy Wilborn (another colleague) on the

meeting, about Edwards’ involvement with Successful Innovations. Stevens and

Adams peppered her with questions about the organization, and Edwards realized

that she was being interrogated. Edwards expressed that she felt like she was being

harassed, and that if Stevens had concerns about Successful Innovations, the

appropriate way to address those concerns would have been to consult with Edwards

privately and not in front of Edwards’ co-workers who were encouraged to join in on

the questioning.

      37.    The next day, June 4, 2020, Edwards and Stevens continued the

discussion about what had transpired the previous day. Edwards described how she

felt attacked, embarrassed, and humiliated by the questioning because it “came out



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of nowhere,” since Edwards had been told the June 3 meeting would be about one

topic for which she had prepared a presentation, but the meeting turned out to be an

interrogation about Successful Innovations. Edwards expressed that she felt “like

[she] was publically (sic) lynched when everyone was shooting questions at [her].”

      38.      Stevens stated “I don’t think anyone ever expected you to give up

ownership of your company that you worked so hard to build, and I certainly don’t

expect that now.” Stevens continued, “But there is so much we don’t know about the

company, how it operates, who actually does take care of the day to day operations,

etc. So I think having you provide us with more of that would be very helpful. Does

SI have an annual report?”

      39.      Edwards responded that her company “was never involved in anything

that would be in competition to Virginia Ed Strategies,” and assured Stevens,

“[P]lease never question my loyalty. I am all in.”

      40.      Edwards continued to express feelings of racial exclusion and being

singled out for her involvement in Successful Innovations, as well as in other conduct

to which she had been subjected, including “[s]ecret meetings and phone calls that

[Edwards] was not privy to[,]” like [the organization] didn’t want a negro to be

involved[.]”

      41.      Stevens admitted that she could not understand what it was like to be

the only minority on an all-white team, but she attempted to minimize the conduct

to which she had subjected Edwards, contending that she did not feel that the team

had ever treated Edwards in a way as to devalue her. Stevens ignored that she had



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just instructed Edwards to prepare a presentation for June 3 on a different topic and

then discarded that topic as soon as the meeting started, before subjecting Edwards

to hyperscrutiny over Successful Innovations in front of colleagues.

      42.    Despite the harassment Edwards experienced, Edwards’ responses to

Stevens’ inquiries about Successful Innovations were satisfactory to Defendants.

      43.    There were no further complaints or concerns about any conflict between

VES and Successful Innovations, Inc. until over two years later, in May of 2022, after

VES had implemented a Conflict of Interest Policy (“COI Policy”), when Edwards once

again provided information about Successful Innovations. The outcome was the same

as the previous two times when Edwards had provided information about Successful

Innovations: there was no conflict.

      44.    In 2021, Defendant VES “rebranded”, changing its name from Virginia

Advanced Study Strategies to Virginia Education Strategies. Along with that process,

job titles changed. Edwards’ new title became: Director of Business and Education

Partnerships. Adams’ new title was Director of Innovation/Technology.

      45.    The changes in title did not correspond with changes in the duties

performed in each position. Edwards continued assisting major grant endeavors,

building and maintaining relationships across the Commonwealth for the benefit of

Defendants, and overseeing grant-related tasks. Adams’ work continued to support

website, social media, and other technical assistance relating to the professional

learning dashboard.




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      46.    During her employment by Defendants after Tate left VES, Edwards

was subjected to differences in treatment, to her disadvantage, in the terms,

privileges, and conditions of employment. VES hyper-scrutinized Edwards’

relationship with Successful Innovations and it excluded her from meetings and calls

with her colleagues.

      47.    Defendants also treated Edwards differently in the application of its

purported policies. Defendants, through Stevens, entered into business transactions

with family members of Stevens and Adams to perform work for Defendants and

receive compensation from grants. Stevens’ son, Jared Stevens, provided

technological support in the summer of 2021, although he was just recently out of

college and had been unemployed for months. Mickey Orrell, Adams’ husband, also

worked to provide technological support between 2021 and 2022. Defendants also

entered into a business transaction with the husband of another of Defendant’s

employees for similar work in an area for which Adams was responsible.

      48.    In late 2021, Stevens assigned Adams to oversee and perform the work

for a very promising and large project with JMU for VES to become a program

evaluator for the Virginia New Teacher Support Grant. This opportunity would have

allowed VES to expand its capabilities and enhance its funding sources, but Adams

fumbled the project and alienated the JMU professor who had presented VES the

opportunity. As a result, JMU demanded VES stop all work it was doing on the project

and return all data it had given VES to evaluate.




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      49.    Stevens’ response to Adams’ failure focused on ensuring that Adams’

feelings were not hurt, rather than assessing Adams’ shortfalls and areas for

improvement to ensure future similar incompetencies did not cost the organization

additional major funding opportunities in the future.

      50.    Another favor that Stevens granted Adams to the exclusion of Edwards

was that Adams refused to work on Saturdays, even though a project involving

technology — Adams’ primary area of responsibility — required conducting training

sessions utilizing technological platforms and software on Saturdays. Stevens

assigned Adams’ weekend duties to Edwards who conducted the training sessions in

addition to her numerous other duties. Edwards covered these Saturday meetings for

Adams until the completion of the contract requiring the trainings.

      51.    Stevens also permitted Adams to attend certain VES functions virtually

that Edwards had to attend in-person.

      52.    Without warning, notice, or prior discussion with Edwards, at an

organization retreat on October 6, 2022, at which all VES staff with the exception of

Sandy Wilborn and Alicia Belcher (who were absent), were in attendance, Stevens

announced that she was promoting Adams to Vice President of VES. A celebration

ensued, including Adams’ mother who participated by Facetime, and Adams’ husband

who was in attendance at the retreat. Stevens forecast that she would discuss with

the team the impact of the promotion at their next retreat in January of 2023.




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      53.    Other VES employees, including Sandy Wilborn, together with Adams’

mother and husband, had been apprised of the promotion of Adams to Vice President.

Edwards was not advised of this decision.

      54.    Indeed, the announcement of Adams’ promotion came as a complete

shock to Edwards, as it was the first she was hearing about any anticipated

organizational changes at VES; and because Adams’ background and performance to

that point demonstrated nothing to support a promotion to a Vice President position.

Furthermore, Edwards would have been the employee who should have been given

such a role, and she would have applied and accepted the position had she known

that the position was available.

      55.    Edwards’ teammates evidenced a lack of surprise for Adams’ promotion

to the VP position, indicating prior knowledge of the decision, as did the inclusion in

the celebration of Adams’ mother who had been conferenced in on Facetime to watch

as Stevens made the announcement.

      56.    Stevens had made the decision to promote Adams to the VP position

prior to the October retreat and had shared this information with the rest of the VES

staff and others—but not Edwards.

      57.    Edwards excused herself from the celebration her teammates were

having at the announcement of Adams’ promotion, and she retreated to the kitchen

in the house where the retreat was being held.

      58.    When Stevens entered the kitchen and approached the refrigerator,

Edwards confronted her. Edwards was highly upset by what she had just learned,



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and told Stevens “this is discrimination and you know it,” that Adams had only been

promoted to VP because Adams “was white,” and that Stevens was “wrong for that.”

      59.    Edwards complained to Stevens because she had not been considered or

even allowed to apply for the position of Vice President even though she was far more

experienced, far more qualified and more senior than Adams, and had evidenced

exemplary performance compared to Adams; and Stevens had not even shared with

the organization that she was considering filling the VP position, much less giving

Edwards a competitive opportunity to obtain the position.

      60.    Stevens, who was within a few feet of Edwards when Edwards made the

complaint, stared at Edwards but gave no response. She did not explain her reasons

for selecting Adams over Edwards, she did not deny or counter Edwards’ protest that

Adams’ appointment was discrimination because Adams “was white,” and she offered

no assurances that Adams’ promotion was based on non-discriminatory business

reasons. Instead, Stevens said nothing. Making no effort to counter Edwards’ protest

of race discrimination, and ignoring the obvious fact that Edwards was highly upset

by the discrimination, Stevens simply stared at Edwards, looked away, started

fiddling with her cell phone, and then left the kitchen and joined the others.

      61.    After Stevens left the kitchen to return to the celebration of Adams’

promotion, Edwards, feeling too uncomfortable to remain, moved to a separate hotel

that evening before joining the group again for the remainder of the retreat the next

day. After the October 2022 retreat, Edwards continued performing her job well. This

included serving as the Facilitator for the CHOICE grant. Stevens did not share any



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plans for new structures or implementation of Adams as VP over the next two

months.

      62.    At the next VES retreat held on January 12, 2023, at the Virginian Hotel

in Lynchburg, Virginia, Stevens unveiled the first implementation plans for Adams’

promotion.

      63.    Showing a Powerpoint presentation which was not circulated, and for

the first time, Stevens presented a new organization chart that showed Adams as the

new supervisor for Edwards and other VES employees. According to the chart,

Edwards was the only VES employee at a Director level who was not assigned

supervisory status over any staff. She also was the only Director who did not report

directly to Stevens. Rather, Edwards was now relegated to work under Adams.

      64.    Edwards, who had been shocked at Adams’ secret “shoulder-tap”

promotion to VP without posting the position for a competitive application, and more

importantly, Adams’ lack of leadership and supervisory experience, was even more

devastated to see that the implementation of Adam’s VP role was to include

supervising Edwards — who had decades more of experience in education-specific

leadership and supervisory roles in her background.

      65.    Devastated, Edwards remained in the room to confront Stevens about

the Adams promotion. Edwards once again told Stevens that the decision to elevate

Adams was racially motivated, and Edwards told Stevens that she gave Adams the

job “because she is white.” Edwards stated again that “this is discrimination,” and




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added that she was more qualified, and that she was going to complain to “the Board,

JMU, and OCR (the Office of Civil Rights)”.

      66.    Indeed, there was a Board of Directors meeting scheduled for mid-

January, then just days away.

      67.    In the past, Edwards had routinely participated in Board of Directors

meetings.

      68.    Stevens had previously told staff at a meeting that they did not need to

attend the Board meeting but that anybody who wanted to attend could do so.

      69.    When Edwards tried to join the meeting via Zoom, however, she found

that Stevens had locked her out of the meeting.

      70.    Two weeks later, on January 30, 2023, Stevens asked Edwards to join

her for a Zoom meeting to discuss a project VES was working on. When Edwards

joined the meeting by Zoom, Adams was in the meeting as well. Stevens and Adams

then summarily announced that Edwards’ ownership of Successful Innovations

constituted an insurmountable conflict of interest. They went on to request that

Edwards either resign immediately or announce by 1 pm the next day that she would

sell Successful Innovations.

      71.    This allegation of a conflict of interest was false and an obvious pretext:

at least three times in the previous four years, Defendants had looked at Successful

Innovations and found that there was no conflict. The issue had not surfaced since

May 2022 when Stevens had personally inquired about the matter, and it again was




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resolved to Defendants’ satisfaction. The conflict issue only resurfaced after Edwards

threatened to complain about racial discrimination to the Board, JMU and the OCR.

         72.   VES and JMU had been fully informed about Edwards’ business since

they hired her in August of 2018.

         73.   Defendants’ new demand that Edwards resign or sell her business was

retaliatory and unlawful. It further treated Edwards differently from white

employees, including Stevens, Adams, and other employees, all of whom engaged in

obvious conflicts of interest, including in engaging in business transactions with their

family members.

         74.   On January 30, 2023, Edwards submitted an online complaint of race

discrimination and retaliation to JMU’s Office of Equal Opportunity (“OEO Office”).

Kim Moubray of the OEO Office confirmed receipt of the complaint and promised to

complete an initial evaluation within ten business days, and that Arthur Dean, the

director, would provide written notification of the initial evaluation determination on

or before February 13, 2023.

         75.   On February 2, 2023, falsely claiming an “irreconcilable actual and/or

potential conflict of interest,” Defendants placed Edwards on paid administrative

leave.

         76.   Pursuant to JMU’s Policy 1324, titled “Discrimination and Retaliation

Complaint Procedure (Other than Title IX Sexual Harassment (Policy 1346) and

Sexual Misconduct (Policy 1340),” “The OEO will provide written notification of the

initial evaluation determination to: the complainant.” Policy 1324 paragraph



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6.3.b.2.i. This notification to the complainant is mandatory and due “within ten

business days.” Id. at paragraph 6.3.b.

       77.    The Employment Agreement between JMU and Edwards expressly

includes “the provisions of the James Madison University policies and procedures.”

Exhibit 1 at § 4.2.

       78.    Under JMU’s policies, Stevens had a duty to report Edwards’ three

complaints of race discrimination in June of 2020, October of 2022, and January of

2023. Instead of reporting these instances she buried them.

       79.    Instead of investigating Edwards’ January 30, 2023, complaint of race

discrimination and retaliation, Defendants terminated Edwards on February 10,

2023, relying on a false assertion of a conflict of interest.

       80.    Prior to her termination, Edwards had performed the only work in VES

that was revenue-generating, in addition to her grant-related job responsibilities, and

she was otherwise an exemplary employee.

       81.    JMU denies that it has a job description for the VES VP position. Only

recently, in 2024, have Defendants described what they purport to be the job

responsibilities of the VP position, in an update to Adams’ biographical information

on VES’ website. These responsibilities include providing “general oversight for all

operations and technology integrations,” and “driving the organization’s ability to

innovate and adapt in a rapidly changing environment.”

       82.    Edwards’ extensive background and qualifications in leadership,

oversight of VES operations, revenue-generating projects, the education grant world,



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and service in the field of education in the Commonwealth unquestionably qualified

and qualify her to satisfy the purported responsibilities of the VP position as

represented on the VES website.

      83.    Since February 10, 2023, VES has not had an employee of color. All of

VES’ employees are white women.

      84.    Defendants did not notify Edwards of their initial evaluation of her

complaint, in violation of their own policies.

      85.    In its position statement to the EEOC written on August 14, 2023, JMU

repeated Defendants’ blatantly pretextual allegations, again falsely claiming, “On

January 30, 2023, VES notified Edwards of an identified ‘severe conflict of interest’

and required that she present a plan ‘to remedy the conflict’ if she wished to remain

in [the] position with Virginia Ed Strategies.” Edwards engaged in no conflict, but

Stevens, Adams, and at least one other employee had by engaging in business

transactions with their family members.

      86.    JMU knew that its narrative was false and pretextual to cover up

Defendants’ discriminatory and retaliatory treatment of Edwards.

      87.    Defendants’ decisions to discriminate and retaliate against Plaintiff, to

ignore her complaints of race discrimination and to terminate her employment, were

made in willful, blatant and intentional disregard of and in violation of Plaintiff’s

rights under Title VII and Section 1981.

      88.    Defendants’ employees have at all times relevant hereto acted within

the scope and during the course of their employment by JMU and VES in



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discriminating and retaliating against Edwards, and denying her the terms,

conditions, and privileges of her employment with each Defendant.

                                  COUNT I
     TITLE VII – RACE DISCRIMINATION IN PROMOTION DECISION
                          (against JMU only)

      89.    Each of the preceding paragraphs is incorporated herein by reference.

      90.    Edwards, because of her race, was denied terms and conditions of

employment in violation of Title VII of the Civil Rights Act of 1964, as amended.

      91.    JMU, by and through its agents and employees, discriminated against

Edwards on account of her race and color in a manner that substantially and

adversely affected the terms, privileges, and conditions of her employment. Among

other things, JMU treated Edwards less favorably than Amanda Adams, a white

employee far less qualified than Edwards, when it promoted Adams to Vice President

instead of Edwards, and without even informing Edwards that it was looking to fill

the VP position, in violation of Title VII of the Civil Rights Act of 1964, as amended.

      92.    JMU’s discrimination against Edwards was an intentional or reckless

disregard of Edwards’ rights under Title VII of the Civil Rights Act of 1991, 42 U.S.C

§ 2000-e et seq, as amended.

      93.    JMU engaged in discriminatory actions described above with malice, or

with a reckless indifference to Edwards’ legal rights.

      94.    Edwards has been damaged as a result of JMU’s unlawful conduct. As a

direct and proximate result of JMU’s conduct, Plaintiff has suffered great

humiliation, distress, embarrassment, inconvenience, mental anguish, pain,



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suffering, injury and damages, including damage to her reputation and good will, loss

of income, litigation expense including attorney’s fees, and consequential damages

and other injury.

                           COUNT II
  DISCRIMINATION AND RETALIATORY DISCHARGE ON THE BASIS OF
                       RACE AND COLOR
                   IN VIOLATION OF TITLE VII
                       (against JMU only)

      95.     Each of the preceding paragraphs is incorporated herein by reference.

      96.     JMU, by and through its agents and employees, discriminated against

Edwards on account of her race and color in a manner that substantially and

adversely affected the terms, privileges, and conditions of her employment. Among

other things, JMU discriminated against Edwards by treating her differently from

white employees in application of policies, and it retaliated against Edwards on

February 2, 2023, when it placed Edwards on paid administrative leave, in violation

of Title VII of the Civil Rights Act of 1964, because she spoke up about her disparate

treatment and harassment as well as the effect the discrimination was having on her.

      97.     On February 10, 2023, JMU, through its employee and/or agent

Stevens, terminated Edwards because she had complained to her supervisor Stevens

about the fact that Stevens had promoted Adams instead of Edwards because Adams

was white and that was discrimination, including because Edwards was far more

experienced and skilled and qualified for the position of Vice President than Adams.

JMU also retaliated against Edwards because Edwards further made it clear that she

was going to elevate her complaint to the Board, to JMU, and to the OCR.



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      98.    JMU, through its employee and/or agent Stevens, engaged in retaliatory

practices with malice and reckless indifference to the federally protected rights of

Edwards. Edwards has been damaged as a result of JMU’s unlawful conduct. As a

direct and proximate result of JMU’s conduct, Plaintiff has suffered great

humiliation, distress, embarrassment, inconvenience, mental anguish, pain,

suffering, injury and damages, including damage to her reputation and good will,

together with loss of employment, loss of compensation and employment related

benefits, loss of health insurance, and litigation expense including attorney’s fees.

                                  COUNT III
  42 U.S.C. § 1981 – RACE DISCRIMINATION IN PROMOTION DECISION
                        (against VES and Stevens)

      99.    Each of the preceding paragraphs is incorporated herein by reference.

      100.   VES and Stevens, by and through their agents and employees,

discriminated against Edwards on account of her race and color in a manner that

substantially and adversely affected the terms and conditions of her employment.

Among other things, VES and Stevens treated Edwards less favorably than Adams

during her employment and promoted Adams instead of Edwards, based upon her

race and color, in violation of 42 U.S.C. § 1981.

      101.   Edwards has been damaged by VES and Stevens’ actions, including, but

not limited to loss of promotion opportunities, loss of compensation and employment

related benefits, and litigation expense including attorney’s fees.




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      102.   VES and Stevens engaged in discriminatory practices with malice and

reckless indifference to the federally protected rights of Edwards, thus entitling

Edwards to punitive damages.

                                       COUNT IV
                        42 U.S.C. § 1981 – RETALIATION
                           (against VES and Stevens)

      103.   Each of the preceding paragraphs is incorporated herein by reference.

      104.    VES and Stevens discriminated against Edwards on account of her race

and color in a manner that substantially and adversely affected the terms and

conditions of her employment. Among other things, VES and Stevens retaliated

against Edwards, in violation of 42 U.S.C. § 1981, because she spoke up about her

disparate treatment and harassment based on race.

      105.    On February 2, 2023, VES and Stevens retaliated against Edwards on

February 2, 2023, when they placed Edwards on paid administrative leave, in

violation of 42 U.S.C. § 1981, because she had objected to her disparate treatment.

      106.    On February 10, 2023, VES and Stevens terminated Edwards after she

complained to her supervisor Stevens and JMU about the fact that VES and Stevens

had promoted Adams instead of Edwards based on race, even though Edwards was

far more experienced and skilled and qualified for the position of Vice President than

Adams.

      107.   VES and Stevens engaged in retaliatory practices with malice and

reckless indifference to the federally protected rights of Edwards. Edwards has been

damaged as a result of VES and Stevens unlawful conduct. As a direct and proximate



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result of VES and Stevens conduct, Edwards has suffered great humiliation, distress,

embarrassment, inconvenience, mental anguish, pain, suffering, injury and damages,

including damage to her reputation and good will, together with loss of employment,

loss of compensation and employment related benefits, loss of health insurance, and

litigation expense including attorney’s fees.

      108.    VES and Stevens engaged in retaliatory practices with malice and

reckless indifference to the federally protected rights of Edwards, thus entitling

Edwards to punitive damages.

                              PRAYER FOR RELIEF

      Wherefore, Plaintiff Darla V. Edwards, requests judgment against Defendants

as follows:

      A.      For appropriate declaratory relief regarding the unlawful acts and

practices of each Defendant, pursuant to Title VII of the Civil Rights Act of 1964 and

42 U.S.C. § 1981;

      B.      For an award of compensatory damages against each Defendant;

      C.      For pre-judgment and post judgment interest;

      D.      For an award of back pay and benefits for violations of Title VII and 42

U.S.C. § 1981 against each Defendant;

      E.      For an award of punitive damages against VES and Stevens;

      F.      For appropriate equitable or injunctive relief, including reinstatement

and advancement to the position she would have occupied in absence of Defendants’

illegal discriminatory and/or retaliatory conduct, or in the alternative, in the event



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that reinstatement or advancement are not practical, for an award of front pay and

benefits;

       G.     For an award of an amount sufficient to offset any adverse tax

consequences resulting from a lump sum aware or an aware of other relief in this

action because she was required to file suit to enforce her federally protected rights;

       H.     For an award of incidental and consequential damages, reasonable

attorney’s fees and costs of this action, including expert witness fees; and

       I.     For such other and further relief to which Plaintiff may show herself

justly entitled.

TRIAL BY JURY IS REQUESTED

                                        DARLA V. EDWARDS



                                        _____/s/ Tim Schulte________l
                                        Tim Schulte (VSB # 41881)
                                        Shelley Cupp Schulte, P.C.
                                        3 West Cary Street
                                        Richmond, Virginia 23220
                                        (804) 644-9700
                                        (804) 278-9634 [fax]
                                        schulte@scs-work.com


                                        Timothy E. Cupp (VSB# 23017)
                                        Nicole D. Faut (VSB #95373)
                                        Shelley Cupp Schulte, P.C.
                                        1951-D Evelyn Byrd Avenue
                                        Harrisonburg, VA 22801
                                        (540)432-9988 Telephone
                                        (804)278-9634 Facsimile
                                        cupp@scs-work.com

                                        Counsel for Plaintiff

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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 20th day of June 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all counsel of record.

Ronald N. Regnery, Esquire
Richard Shayegan, Esquire
Office of the Attorney General
202 North 9th Street
Richmond, Virginia 23219
GPhillips@oag.state.va.us
RRegnery3@oag.state.va.us

Counsel for James Madison University

Heidi E. Siegmund (VSB # 89569)
Carl A. Retzloff (VSB # 97722)
McGuire Woods LLP
Gateway Plaza
800 East Canal Street
Richmond VA 23219-3916
hsiegmund@mcguirewoods.com
cretzloff@mcguirewoods.com

Counsel for Defendants VES and Jennifer Stevens


                                         ______/s/ Tim Schulte_____________
                                         Tim Schulte (VSB #41881)




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